8 F.3d 819
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Keith Howard KNOWLES, Plaintiff-Appellant,v.STATE OF SOUTH CAROLINA, Defendant-Appellee.
    No. 93-1024.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 13, 1993.
    
      Appeal from the United States District Court for the District of South Carolina, at Florence.  William B. Traxler, Jr., District Judge.  (CA-92-3050)
      Keith Howard Knowles, Appellant Pro Se.
      D.S.C.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his civil action.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Knowles v. South Carolina, No. CA-92-3050 (D.S.C. Dec. 8, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    